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       IN THE CIRCUIT COURT OF MARYLAND FOR BALTIMORE CITY

 GEORGE WILSON
 301 W.MADISON AVENUE #502
 BALTIMORE,MD 21201

 Plaintiff

 v.                                                 CASE NO.: TBD

 SOCIAL BICYCLES LLC
 Serve On:TIM CORPORATION TRUST
 INC.,RESIDENT AGENT
 2405 YORK ROAD SUITE 201
 LUTHERVILLE-TIMONIUNI,MD 21093

 and

 UBER TECHNOLOGIES,INC.D/B/A
 JUMP TECHNOLOGIES,INC.
 Serve On:THE CORPORATION TRUST
 INC.,RESIDENT AGENT
 2405 YORK ROAD SUITE 201
 LUTHERVILLE-TrIVIONIUM,MD 21093

 and

UBER USA,LLC.
Serve On: Tkik; CORPORATION TRUST
INC.,RESIDENT AGENT
2405 YORK ROAD SUITE 201
LUTHERVILLE-TIMONIUM,MD 21093

 Defendants


                                    COMPLAINT

       COME NOW Plaintiff, GEORGE WILSON,through his attorneys,Robert K.Stegman

111,Esq., and The Killian Law Group, LLC, and sues the Defendants SOCIAL BICYCLES

LLC and UBER TECHNOLOGIES, INC. D/B/A JUMP TECHNOLOGIES, INC. (Herein

after Tiber Technologies,Inc.) and UBER USA,LLC and in support state as follows:


                            JURISDICTION AND VENUE




                                                                               Exhibit A
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        1. Venue is appropriate in Baltimore City, Maryland pursuant to MD.CODE ANN.CTS.

& JUD. PROC. § 6-202 et seq. because this action in negligence occurred in Baltimore City,

Maryland.

                                        THE PARTIES

        2. Plaintiffis a resident ofBaltimore City, Maryland.

        3. Defendants are private transportation companies that are authorized to provide

transportation lathe State ofMaryland including Baltimore City, Maryland.

                                FACTUAL BACKGROUND

        4. On or about May 8, 2019, the Plaintiff was the operator of an electric scooter that

was owned and maintained by Defendants. The Plaintiff was proceeding at or near the

intersection ofRead Street and Park Avenue in Baltimore City, Maryland.

        5. As the Plaintiff was proceeding, the Plaintiff attempted to stop the electric scooter

by utilizing the brakes.

        6.The Plaintiff was unable to stop the electric scooter due to the fact that the brakes on

the electric scooter had malfunctioned or did not function properly.

        7. As a result ofthe malfunctioning electric scooter brakes, the Plaintiff had to use his

right foot to stop in order to avoid traffic, a pedestrian, or any other foreseeable danger that

occurred.

        8. The Plaintiff sustained injuries to his right foot and ankle as a result of the

malfunctioning electric scooter brakes that necessitated subsequent medical attention.

Additionally, Plaintiff underwent surgery to his right ankle with required surgery. As a result

ofthe surgery, the Plaintiff suffered from pain and suffering and now existing scarring. The

Plaintiff continues to feel pain and discomfort in his injured areas.

                                  COUNT I
                                NEGLIGENCE
                PLAINTIFF v. DEFENDANT SOCIAL BICYCLES LLC


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        9. Plaintiff hereby incorporates by reference and re-alleges all paragraphs within this

Complaint as iffully set forth herein.

        10.Defendant had a duty to actreasonably and to maintain the electric scooters in which

they were offering for individuals to rent from them.

        At the time and date ofthe occurrence,Defendant breached that duty and was negligent

in the following particular, among others:

        a. Failure to maintain the brakes on the electric scooter in which the Plaintiff rented;

        b. Failure to make repairs to the brakes on electric scooter in which the Plaintiffrented;

        and

       c. Failure to inspect the electric scooter to ensure that they were in good working

           order for use by members ofthe general public;

       d. Failure to provide adequate instruction to the general public on how to use the

           electric scooter;

       e. Other acts ofnegligence not yet specified.

       11. As a direct result ofthe electric scooters brake malfiutction,Defendant's negligence

caused Plaintiff to suffer physical injuries and conscious pain and suffering which he incurred

medical expenses and other damages.

       WHEREFORE,Plaintiff,demandsjudgment againstDefendant SOCIAL BICYCLES

LLC in an amount in excess ofSeventy-Five Thousand Dollars(>$75,000.00),plus costs, pre-

judgment interest and post-judgment interest.

                                  COUNT If
                                NEGLIGENCE
              PLAINTIFF v. DEFENDANT TIBER TECHNOLOGIES.INC.

       12. Plaintiff hereby incorporates by reference and re-alleges all paragraphs within this

Complaint as iffilly set forth herein.




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         13.Defendant had a duty to act reasonably and to maintain the electric scooters in which

 they were offering for individuals to rentfrom them.

         Atthe time and date ofthe occurrence,Defendant breached that duty and was negligent

 in the following particular, among others:

        a. Failure to maintain the brakes on the electric scooter in which the Plaintiffrented;

        b. Failure to make repairsto the brakes on electric scooter in which the Plaintiffrented;

        and

        c. Failure to inspect the electric scooter to ensure that they were in good working

              order for use by members ofthe general public;

        d. Failure to provide adequate instruction to the general public on how to use the

              electric scooter;

        e.Other acts ofnegligence not yet specified.

        14. As a direct result ofthe electric scooters brake malfunction,Defendant's negligence

 caused Plaintiffto suffer physical injuries and conscious pain and suffering which he incurred

 medical expenses and other damages.

        WHEREFORE, Plaintiff, demands judgment against Defendant UBER

 TECHNOLOGIES, INC. in an amount in excess of Seventy-Five Thousand Dollars

(>$75,000.00), plus costs, pre-judgment interest and post-judgment interest.

                                     COUNT DT
                                    NEGLIGENCE
                       PLAINTIFF v.DEFENDANT USER USA,LLC.

        15. Plaintiff hereby incorporates by reference and re-alleges all paragraphs within this

 Complaint as iffully set forth herein.

        16.Defendant had a duty to act reasonably and to maintain the electric scooters in which

they were offering for individuals to rent from them.




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        Atthe time and date ofthe occurrence,Defendant breached that duty and was negligent

in the following particular, among others:

        a. Failure to maintain the brakes on the electric scooter in which the Plaintiff rented;

        b. Failure to make repairs to the brakes on electric scooter in which the Plaintiffrented;

        and

       c. Failure to inspect the electric scooter to ensure that they were in goad working

             order for use by members ofthe general public;

        d. Failure to provide adequate instruction to the general public on how to use the

             electric scooter;

       e. Other acts of negligence not yet specified.

        17. As a direct result ofthe electric scooters brake malfunction,Defendant's negligence

caused Plaintiffto suffer physical injuries and conscious pain and suffering which he incurred

medical expenses and other damages.

       WHEREFORE,Plaintiff; demandsjudgment against Defendant UBER USA,LLC in

an amount in excess of Seventy-Five Thousand Dollars (>$75,000.00), plus costs, pre-

judgment interest and post-judgment interest.

                                 COUNT IV
                PRODUCTS LIABILITY- DEFECT IN MANUFACTURE
                PLAINTIFF v.DEFENDANT SOCIAL BICYCLES LLC

       18. Plaintiff hereby incorporates by reference and re-alleges all paragraphs within this

Complaint as iffully set forth herein.

       19. This Defendant is engaged in the design, manufacture, and sale/renting ofrentable

electric scooters for use by the general public, known as Jump Scooters.

       20. On or about May 8, 2019, the Plaintiff rented a Jump Scooter owned by this

Defendant.




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        21. The scooter rented by the Plaintiff was designed, manufactured, and rented by the

Defendant.

        22. The scooter was placed into the stream of commerce and rented by this Defendant

in a defective and unreasonably dangerous condition in that the scooter contained a latent

manufacturing flaw which resulted in the brakes failing to work when the Plaintiffapplied them

on or about May 8,2019.

       23. The scooter reached the Plaintiffwithout any substantial change in its condition and

was in the same condition at the time ofthe injury herein alleged.

       24. On or about May 8,2019, while the Plaintiff was using the scooter in a foreseeable

manner, the brakes failed to function properly,leading to the Plaintiff's injuries alleged herein.

       25. The Plaintiff's injuries to his ankle occurred because ofa defect in the manufacture

ofthe scooter. Ifthe scooter had not had the defect in manufacture alleged herein, Plaintiff's

injuries would not have occurred.

       26. As a result ofthe defect described above,Plaintiffsuffered extreme pain and agony,

which continues to the present and will continue to do so. The Plaintiff has incurred medical

expenses and lost wages. This Defendant released a new version of the Jump scooter

subsequent to this occurrence in or about June 24,2019,that contained, among other things, a

new brake system including hand brakes.

        WHEREFORE,Plaintiff,demandsjudgment against Defendant SOCIAL BICYCLES

LLC in an amount in excess ofSeventy-Five Thousand Dollars(>$75,000.00), plus costs, pre-

judgment interest and post-judgment interest.

                                COUNT V
              PRODUCTS LIABILITY- DEFECT IN MANUFACTURE
             PLAINTIFF v. DEFENDANT U13ER TECHNOLOGIES,INC.

       27. Plaintiff hereby incorporates by reference and re-alleges all paragraphs within this

Complaint as iffully set forth herein.


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         28. This Defendant is engaged in the design, manufacture, and sale/renting ofrentable

 electric scooters for use by the general public,known as Jump Scooters.

         29. On or about May 8, 2019, the Plaintiff rented a Jump Scooter owned by this

 Defendant.

         30. The scooter rented by the Plaintiff was designed, manufactured, and rented by the

 Defendant.

         31. The scooter was placed into the stream ofcommerce and rented by this Defendant

 in a defective and unreasonably dangerous condition in that the scooter contained a latent

 manufacturing flaw which resulted in the brakes failing to work when the Plaintiffapplied them

 on or about May 8,2019.

        32.The scooter reached the Plaintiffwithout any substantial change in its condition and

 was in the same condition at the time ofthe injury herein alleged.

        33. On or about May 8,2019, while the Plaintiff was using the scooter in a foreseeable

 manner, the brakes failed to function properly, leading to the Plaintiff's injuries alleged herein.

        34. The Plaintiff's injuries to his ankle occurred because ofa defect in the manufacture

 ofthe scooter. Ifthe scooter had not had the defect in manufacture alleged herein, Plaintiff's

 injuries would not have occurred.

        35. As a result ofthe defect described above,Plaintiffsuffered extreme pain and agony,

 which continues to the present and will continue to do so. The Plaintiff has incurred medical

 expenses and lost wages. This Defendant released a new version of the Jump scooter

 subsequent to this occurrence in or about June 24, 2019,that contained, among other things, a

 new brake system including hand brakes.

        WHEREFORE, Plaintiff              demands judgment         against    Defendant     UBER

 TECHNOLOGIES, INC. in an amount in excess of Seventy-Five Thousand Dollars

(>$75,000.00), plus costs, pre-judgment interest and post-judgment interest.


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                                  COUNT VI
                PRODUCTS LIABILITY- DEFECT IN MANUFACTURE
                   PLAINTIFF v. DEFENDANT UBER USA.LLC.

       36. Plaintiff hereby incorporates by reference and re-alleges all paragraphs within this

Complaint as iffully set forth herein.

       37. This Defendant is engaged in the design, manufacture, and sale/renting ofrentable

electric scooters for use by the general public,known as Jump Scooters.

       38. On or about May 8, 2019, the Plaintiff rented a Jump Scooter owned by this

Defendant.

       39. The scooter rented by the Plaintiff was designed, manufactured, and rented by the

Defendant.

       40. The scooter was placed into the stream ofcommerce and rented by this Defendant

in a defective and unreasonably dangerous condition in that the scooter contained a latent

manufacturing flaw which resulted in the brakes failing to work when the Plaintiffapplied them

on or about May 8,2019.

       41. The scooter reached the Plaintiffwithout any substantial change in its condition and

was in the same condition at the time ofthe injury herein alleged.

       42. On or about May 8,2019, while the Plaintiffwas using the scooter in a foreseeable

manner,the brakes failed to function properly,leading to the Plaintiff's injuries alleged herein.

       43. The Plaintiff's injuries to his ankle occurred because ofa defect in the manufacture

ofthe scooter. Ifthe scooter had not had the defect in manufacture alleged herein, Plaintiff's

injuries would not have occurred.

       44. As a result ofthe defect described above,Plaintiffsuffered extreme pain and agony,

which continues to the present and will continue to do so. The Plaintiff has incurred medical

expenses and lost wages. This Defendant released a new version of the Jump scooter




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subsequent to this occurrence in or about June 24,2019,that contained, among other things, a

new brake system including hand brakes.

        WHEREFORE,Plaintiff, demandsjudgment against Defendant UBER USA,LLC in

an amount in excess of Seventy-Five Thousand Dollars (>$75,000.00), plus costs, pre-

judgment interest and post-judgment interest.

                                  COUNT VII
                    PRODUCTS LIABILITY- DEFECT IN DESIGN
                 PLAINTIFF v. DEFENDANT SOCIAL BICYCLES LLC

        45. Plaintiff hereby incorporates by reference and re-alleges all paragraphs within this

Complaint as iffully set forth herein.

        46. This Defendant is engaged in the design, manufacture, and sale/renting ofrentable

electric scooters for use by the general public,known as Jump Scooters.

        47. On or about May 8, 2019, the Plaintiff rented a Jump Scooter owned by this

Defendant.

       48. The scooter rented by the Plaintiff was designed, manufactured, and rented by the

Defendant.

       49. The scooter was placed into the stream of commerce and rented by this Defendant

in a defective and unreasonably dangerous condition in that the design ofthe scooter was such

that it failed to incorporate in the saw a hand brake system which would protect the user ofthe

scooter ifthe braking system failed to function as designed.

       50.The scooter reached the Plaintiffwithout any substantial change in its condition and

was in the same condition at the time ofthe injury herein alleged.

       51. On or about May 8,2019, while the Plaintiff was using the scooter in a foreseeable

manner,the brakes failed to function properly, leading to the Plaintiff's injuries alleged herein.




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        52.The Plaintiff's injuries to his ankle occurred because ofa defect in the design ofthe

scooter. Tithe scooter had not had the defect in design alleged herein,Plaintiff's injuries would

not have occurred.

        53. As a result ofthe defect described above,Plaintiffsuffered extreme pain and agony,

which continues to the present and will continue to do so. The Plaintiff has incurred medical

expenses and lost wages. This Defendant released a new version of the Jump scooter

subsequent to this occurrence in or about June 24,2019,that contained, among other things, a

new brake system including hand brakes that provides the user with a means to brake the

scooter in the event that the braking system fails to function.

       WHEREFORE,Plaintiff, demandsjudgment against Defendant SOCIAL BICYCLES

LLC in an amount in excess ofSeventy-Five Thousand Dollars(>$75,000.00), plus costs, pre-

judgment interest and post-judgment interest.

                               COUNT VIII
                  PRODUCTS LIABILITY- DEFECT IN DESIGN
             PLAINTIFF v.DEFENDANT UBER TECHNOLOGIES,INC.

       54. Plaintiff hereby incorporates by reference and re-alleges all paragraphs within this

Complaint as iffully set forth herein.

       55. This Defendant is engaged in the design, manufacture,and sale/renting ofrentable

electric scooters for use by the general public, known as Jump Scooters.

       56. On or about May 8, 2019, the Plaintiff rented a Jump Scooter owned by this

Defendant.

       57. The scooter rented by the Plaintiff was designed, manufactured, and rented by the

Defendant.

       58. The scooter was placed into the stream ofcommerce and rented by this Defendant

in a defective and unreasonably dangerous condition in that the design ofthe scooter was such




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 that it failed to incorporate in the saw a hand brake system which would protect the user ofthe

 scooter ifthe braking system failed to function as designed.

         59.The scooter reached the Plaintiffwithout any substantial change in its condition and

 was in the same condition at the time ofthe injury herein alleged.

        60. On or about May 8,2019, while the Plaintiff was using the scooter in a foreseeable

 manner,the brakes failed to function properly, leading to the Plaintiff's injuries alleged herein.

        61. The Plaintiff's injuries to his anlde occurred because ofa defect in the design ofthe

 scooter. Ifthe scooter had not had the defect in design alleged herein,Plaintiff's injuries would

 not have occurred.

        62.As a result ofthe defect described above,Plaintiffsuffered extreme pain and agony,

 which continues to the present and will continue to do so. The Plaintiff has incurred medical

 expenses and lost wages. This Defendant released a new version of the Jump scooter

 subsequent to this occurrence in or about June 24,2019, that contained, among other things, a

 new brake system including hand brakes that provides the user with a means to brake the

 scooter in the event that the braking system fails to function.

        WHEREFORE,Plaintiff, demandsjudgment against Defendant UBER

 TECHNOLOGIES,INC. in an amount in excess ofSeventy-Five Thousand Dollars

(>$75,000.00), plus costs, pre-judgment interest and post-judgment interest.

                                     COUNT IX
                      PRODUCTS LIABILITY- DEFECT IN DESIGN
                      PLAINTIFF v. DEFENDANT UBER USA,LLC.

        63. Plaintiff hereby incorporates by reference and re-alleges all paragraphs within this

 Complaint as iffully set forth herein.

        64. This Defendant is engaged in the design, manufacture, and sale/renting ofrentable

 electric scooters for use by the general public, known as Jump Scooters.




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        65. On or about May 8, 2019, the Plaintiff rented a Jump Scooter owned by this

Defendant.

        66. The scooter rented by the Plaintiff was designed, manufactured, and rented by the

Defendant.

        67. The scooter was placed into the stream ofcommerce and rented by this Defendant

in a defective and unreasonably dangerous condition in that the design ofthe scooter was such

that it failed to incorporate in the saw a hand brake system which would protect the user ofthe

scooter ifthe braking system failed to function as designed.

       68. The scooter reached the Plaintiffwithout any substantial change in its condition and

was in the same condition at the time ofthe injury herein alleged.

       69. On or about May 8,2019, while the Plaintiff was using the scooter in a foreseeable

manner,the brakes failed to function properly, leading to the Plaintiff's injuries alleged herein.

       70. The Plaintiff's injuries to his ankle occurred because ofa defect in the design ofthe

scooter. Ifthe scooter had not had the defect in design alleged herein,Plaintiff's injuries would

not have occurred.

       71. Asa result ofthe defect described above,Plaintiffsuffered extreme pain and agony,

which continues to the present and will continue to do so. The Plaintiff has incurred medical

expenses and lost wages. This Defendant released a new version of the Jump scooter

subsequent to this occurrence in or about June 24,2019,that contained, among other things, a

new brake system including hand brakes that provides the user with a means to brake the

scooter in the event that the braking system fails to function.

       WHEREFORE,Plaintiff, demandsjudgment against Defendant UBER USA,LLC in

an amount in excess of Seventy-Five Thousand Dollars (>$75,000.00), plus costs, pre-

judgment interest and post-judgment interest.




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                             Respectfully Submitted,




                                      dr Binde     .(MS #1706010001)
                                 art K.Stegrnan III, Esq.(MS #1212130185)
                             Dean G.Fleyzor,Esq.(AIS #1606210076)
                             The Killian Law Group,LLC
                             Dolffeld Office Park
                             400 Redland Court, Suite 204
                             Owings Mills, Maryland 21117
                             Phone:(443)600-5540
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                             Email: attomey@killianlawgroup.com
                             Attorneysfor Plaintiff




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      IN THE CIRCUIT COURT OF MARYLAND FOR BALTIMORE CITY

GEORGE WILSON
301 W.MADISON AVENUE #502
BALTIMORE,MD 21201

Plaintiff

V.                                                     CASE NO.: TBD

SOCIAL BICYCLES LLC
Serve On:THE CORPORATION TRUST
INC.,RESIDENT AGENT
2405 YORK ROAD SUITE 201
LUMERVILLE-TIEVIONIUM,MD 21093

and

UBER TECHNOLOGIES,INC.D/B/A
JUMP TECHNOLOGIES,INC.
Serve On:THE CORPORATION TRUST
INC.,RESIDENT AGENT
2405 YORK ROAD SUITE 201
LUTHERVILLE-TIMONIUM,MD 21093

and

UBER USA,LLC.
Serve On: THE CORPORATION TRUST
INC.,RESIDENT AGENT
2405 YORK ROAD SUITE 201
LUTIIERVILLE-TIMONIUM,MD 21093

Defendants


                           REQUEST FOR TRIAL BY JURY

      The Plaintiffrequests a trial byjury in this matter.


                                            Respectfully Submifte


                                                     dr Bin er,
                                                             ,      AIS #1706010001)
                                                 rt K.Stegman III, Esq.(AIS #1212130185)
                                            Dean G.Fleyzor,Esq.(MS #1606210076)
                                            The Killian Law Group,LLC
                                            Dolfield Office Park
                                            400 Redland Court, Suite 204

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                             Attorneysfor Plaintiff




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